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                                    LODESTAR ANSTALT
                               8

                               9
                                                           UNITED STATES DISTRICT COURT
                              10
                                                         CENTRAL DISTRICT OF CALIFORNIA
                              11
655 North Central Avenue

Glendale, CA 91203-1445




                              12
                                    LODESTAR ANSTALT, a                     Case No. 2:16-cv-06411-CAS (FFMx)
                              13    Lichtenstein company,
Suite 2300




                              14                  Plaintiff,                DECLARATION OF DREW
                                                                            WILSON IN SUPPORT OF
                              15            vs.                             PLAINTIFF’S MOTION FOR
                                                                            SANCTIONS
                              16    BACARDI & COMPANY LIMITED,
                                    a Lichtenstein company, BACARDI         Hearing Date: August 7, 2017
                              17    U.S.A., INC., a Delaware corporation,   Time: 10:00 a.m.
                                    and BACARDI LIMITED, a Bermuda          Ctrm: 8D, First Street Courthouse
                              18    company,
                              19                  Defendants.               Hon. Christina A. Snyder
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                               1            I, Drew Wilson, declare:
                               2            1.    I am an associate at Lewis Roca Rothgerber Christie LLP, counsel of
                               3    record for Plaintiff Lodestar Anstalt (“Lodestar”), in the above captioned matter.
                               4    I make this declaration based on personal knowledge and could competently
                               5    testify to the facts stated if called upon to do so.
                               6            2.    On Monday June 26, 2017, the Florida court granted Lodestar’s
                               7    motion to retransfer this case from Florida back to this Court. This created an
                               8    appealable event. Under Federal Rule of Civil Procedure 54(d)(2) Lodestar had
                               9    14 days in which to file a motion for attorney’s fees. In order to comply with
                              10    Local Rule 7-3, it needed to meet and confer with opposing counsel regarding its
                              11    pending motion for sanctions by the end of the day on Monday, July 3, 2017.
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                              12            3.    On Wednesday June 28, 2017, I sent an email to Bacardi’s counsel
                              13    of record in this case, all of whom are members of the law firm of Kelley Drye &
Suite 2300




                              14    Warren LLP. In this email I requested a Local Rule 7-3 meet and confer on
                              15    Thursday, June 29, 2017, Friday June 30, 2017, or Monday July 3, 2017.
                              16    I included in detail the grounds for the motion along with the relief that Lodestar
                              17    would seek. A copy of this email is attached as Exhibit A.
                              18            4.    Bacardi responded, claiming they were only willing to schedule a
                              19    teleconference to meet and confer after the statutory deadline.         Instead of
                              20    identifying availability on June 29, 30, or July 3 2017, they offered availability
                              21    only on July 5, 2017 and July 6, 2017. A copy of Bacardi’s response only
                              22    offering dates after Monday July 3, 2017 is attached as Exhibit B.
                              23            5.    Bacardi lists three attorneys of record from Kelley Drye & Warren
                              24    LLP. Kelley Drye & Warren LLP is a relatively large firm. According to its
                              25    chamber’s profile Kelley Drye & Warren LLP has approximately 350 attorneys.
                              26    A copy of Kelley Drye & Warren LLP’s Chamber’s profile is attached as
                              27    Exhibit C.
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                               1            6.    On Friday June 30, 2017, I called and left messages on the answering
                               2    machine for two of Bacardi’s counsel of record informing them that I believed
                               3    I had satisfied my meet and confer requirements, and that if they had any
                               4    questions about the substance of the motion they were welcome to call me back.
                               5            7.    That same day I received two emails from Michael Lynch stating
                               6    that he believed I had not satisfied my Local Rule 7-3 meet and confer
                               7    requirements. In these emails he reiterated that no representative from Kelley
                               8    Drye & Warren LLP would be available on Monday July 3, 2017. Their only
                               9    availability was July 5 and 6. A copy of this correspondence containing both of
                              10    Mr. Lynch’s emails is attached as Exhibit D.
                              11            8.    On Thursday July 6, 2017, out of an abundance of caution and desire
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                              12    to comply with the spirit of Local Rule 7-3, I conducted a telephonic meet and
                              13    confer with all three members of Bacardi’s counsel of record from Kelley Drye &
Suite 2300




                              14    Warren LLP. I was joined in this teleconference by my fellow associate Michael
                              15    Koplow. At the conference, we reiterated the basis for our motion for sanctions,
                              16    and explained that it was largely duplicative of the previous motion for sanctions
                              17    that accompanied Lodestar’s motion for reconsideration. We also explained that
                              18    the motion was bolstered by the Florida Court’s holding that Bacardi had
                              19    misrepresented its position regarding personal jurisdiction to this Court when
                              20    Bacardi filed its motion to transfer.
                              21

                              22            I declare under penalty of perjury under the laws of the United States of
                              23    America that the foregoing is true and correct and that this declaration is executed
                              24    on the 10th day of July 2017 in Glendale, California.
                              25

                              26                                                   /s/ Drew Wilson
                              27                                                       Drew Wilson

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